      Case 2:17-cv-08580-JAK-SS
Name, Address                              Document
              and Telephone Number of Attorney(s):        65 Filed 11/11/18 Page 1 of 1 Page ID #:389
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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                                              CASE NUMBER
ANDRES RAMIREZ
                                                                                 17-CV-8580-JAK
                                           Plaintiff(s)
                           v.
CITY OF LOS ANGELES, et.al.
                                                                            MEDIATION REPORT

                                           Defendant(s).

Instructions: The mediator must file this Report within 5 days after the conclusion of a mediation
session even if the negotiations continue. If the case later settles with the assistance of the mediator,
the mediator must file a subsequent Report.
1.       ✔   A mediation was held on (date): November 6, 2018               .

             A mediation did not take place because the case settled before the session occurred.

2.      The individual parties and their respective trial counsel, designated corporate representatives, and/or
        representatives of the party's insurer:
                ✔   Appeared as required by Civil L.R. 16-15.5(b).
                    Did not appear as required by Civil L.R. 16-15.5(b).
                            Plaintiff or plaintiff's representative failed to appear.
                            Defendant or defendant's representative failed to appear.
                            Other:

3.      Did the case settle?
                    Yes, fully, on                        (date).
                    Yes, partially, and further facilitated discussions are expected. (See No. 4 below.)
                    Yes, partially, and further facilitated discussions are not expected.
                ✔   No, and further facilitated discussions are expected. (See No. 4 below.)
                    No, and further facilitated discussions are not expected.
4.      If further facilitated discussions are expected, by what date will you check in with the parties?
         December 31, 2018 .

Dated: November 11, 2018
                                                                                Signature of Mediator
                                                                                 Richard T. Copeland
                                                                                Name of Mediator (print)
The Mediator is to electronically file original document.

ADR-03 (01/14)                                   MEDIATION REPORT                                           Page 1 of 1
